               Case 22-11068-JTD             Doc 10154         Filed 03/22/24         Page 1 of 19




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                   Chapter 11
    In re:
                                                                   Case No. 22-11068 (JTD)
    FTX TRADING LTD., et al., 1
                                                                   (Jointly Administered)
                              Debtors.



                                         AFFIDAVIT OF SERVICE

       I, Liz Santodomingo, depose and say that I am employed by Kroll Restructuring
Administration LLC (“Kroll”), the claims and noticing agent for the Debtors in the above-
captioned chapter 11 cases.

        On February 29, 2024, at my direction and under my supervision, employees of Kroll
caused the following documents to be served via email on the UST & UCC Service List attached
hereto as Exhibit A:

     •   Notice of Withdrawal of Declaration in Support of Employment of Harney Westwood &
         Riegels LLP as Professional Utilized in the Ordinary Course of Business [Docket No.
         8192]

     •   Supplemental Declaration in Support of Employment of Lenz Staehelin as Professional
         Utilized in the Ordinary Course of Business [Docket No. 8197]

     •   Supplemental Declaration in Support of Employment of Schurti Partners Attorney at Law
         Ltd. as Professional Utilized in the Ordinary Course of Business [Docket No. 8198]

     •   Supplemental Declaration [Docket No. 8199]



                                       [Remainder of page intentionally left blank]




1
  The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the Debtors
and the last four digits of their federal tax identification numbers is not provided herein. A complete list of such
information may be obtained on the website of the Debtors’ claims and noticing agent at
https://cses.ra.kroll.com/FTX.
            Case 22-11068-JTD        Doc 10154      Filed 03/22/24     Page 2 of 19




        On February 29, 2024, at my direction and under my supervision, employees of Kroll
caused the following document to be served by the method set forth on the Core/2002 Service List
attached hereto as Exhibit B; and via first class mail on the Ordinary Course Professional Service
List attached hereto as Exhibit C:


   •   Debtors’ Motion to (I) File Under Seal or, If Necessary, Omit Confidential Information
       from Declarations Filed in Support of the Retention of Certain Foreign Professionals
       Utilized in the Ordinary Course of Business and (II) Granting Related Relief [Docket No.
       8200]

        On February 29, 2024, at my direction and under my supervision, employees of Kroll
caused the following document to be served by the method set forth on the Notice Parties Service
List attached hereto as Exhibit D:

   •   Notice of Deposition of Ioannis Gkatzimas [Docket No. 8201]



Dated: March 19, 2024
                                                             /s/ Liz Santodomingo
                                                             Liz Santodomingo
State of New York
County of New York

Subscribed and sworn (or affirmed) to me on March 19, 2024, by Liz Santodomingo, proved to
me on the bases of satisfactory evidence to be the person who executed this affidavit.

/s/ HERBERT BAER
Notary Public, State of New York
No BA6205563
Qualified in Westchester County
Commission Expires May 11, 2025




                                                2
                                                                                    SRF 77152
Case 22-11068-JTD   Doc 10154   Filed 03/22/24   Page 3 of 19




                        Exhibit A
                                          Case 22-11068-JTD      Doc 10154      Filed 03/22/24   Page 4 of 19

                                                                       Exhibit A
                                                                   UST & UCC Service
                                                                  List Served via email


                 NAME                                        NOTICE NAME                         EMAIL

                                                                                                 BENJAMIN.A.HACKMAN@USDOJ.GOV;
OFFICE OF THE UNITED STATES TRUSTEE ATTN: BENJAMIN A. HACKMAN, DAVID GERARDI, JON.LIPSHIE        DAVID.GERARDI@USDOJ.GOV; JON.LIPSHIE@USDOJ.GOV

                                                                                                 GABESASSON@PAULHASTINGS.COM;
                                                                                                 KRISHANSEN@PAULHASTINGS.COM;
                                                                                                 KENPASQUALE@PAULHASTINGS.COM;
                                        ATTN: GABE E. SASSON, KRISTOPHER M. HANSEN, KENNETH      EREZGILAD@PAULHASTINGS.COM;
                                        PASQUALE, LUC A. DESPINS, EREZ E. GILAD AND SAMANTHA     LUCDESPINS@PAULHASTINGS.COM;
PAUL HASTINGS                           MARTIN                                                   SAMANTHAMARTIN@PAULHASTINGS.COM
YOUNG CONAWAY STARGATT & TAYLOR,
LLP                              ATTN: MATTHEW B. LUNN, ROBERT F. POPPITI, JR.                   MLUNN@YCST.COM; RPOPPITI@YCST.COM




      In re: FTX Trading Ltd., et al.
      Case No. 22-11068 (JTD)                                          Page 1 of 1
Case 22-11068-JTD   Doc 10154   Filed 03/22/24   Page 5 of 19




                        Exhibit B
                                                                                                                       Case 22-11068-JTD   Doc 10154       Filed 03/22/24   Page 6 of 19




                                                                                                                                                  Exhibit B
                                                                                                                                            Core/2002 Service List
                                                                                                                                           Served as set forth below



                                                DESCRIPTION                                                            NAME                                                        ADDRESS                                                       EMAIL             METHOD OF SERVICE
                                                                                                                                             ATTN: ANTHONY M. SACCULLO, MARY E. AUGUSTINE
                                                                                                                                             27 CRIMSON KING DRIVE                                                              AMS@SACCULLOLEGAL.COM
COUNSEL TO CELSIUS NETWORK LLC AND ITS AFFILIATED DEBTORS                                           A. M. SACCULLO LEGAL, LLC                BEAR DE 19701                                                                      MEG@SACCULLOLEGAL.COM            Email
                                                                                                                                             ATTN: MICHAEL D. DEBAECKE
                                                                                                                                             500 DELAWARE AVENUE
                                                                                                                                             8TH FLOOR
COUNSEL TO RIBOSCIENCE LLC AND 4J THERAPEUTICS INC.                                                 ASHBY & GEDDES, P.A.                     WILMINGTON DE 19899-1150                                                           MDEBAECKE@ASHBYGEDDES.COM        First Class Mail and Email
                                                                                                                                             ATTN: RICARDO PALACIO, GREGORY A. TAYLOR
                                                                                                                                             500 DELAWARE AVENUE, 8TH FLOOR
                                                                                                                                             P.O. BOX 1150                                                                      RPALACIO@ASHBYGEDDES.COM
COUNSEL TO BITGO TRUST COMPANY, INC. & MERCEDES-BENZ GRAND PRIX LIMITED                             ASHBY & GEDDES, P.A.                     WILMINGTON DE 19899                                                                GTAYLOR@ASHBYGEDDES.COM          First Class Mail and Email
                                                                                                                                             ATTN: JAMES V. MASELLA, III
                                                                                                                                             1675 BROADWAY
COUNSEL TO THE CAROLINE DOROTHY JONES 2007 TRUST, THE CHRISTINE LOUISE JONES 2007 TRUST, THE JOHN                                            19TH FLOOR
PAUL JONES II 2007 TRUST, AND THE DOROTHY ANNE JONES 2007 TRUST                                     BALLARD SPAHR LLP                        NEW YORK NY 10019-5820                                                             MASELLAJ@BALLARDSPAHR.COM        First Class Mail and Email
                                                                                                                                             ATTN: NICHOLAS J. BRANNICK
                                                                                                                                             919 N. MARKET STREET
COUNSEL TO THE CAROLINE DOROTHY JONES 2007 TRUST, THE CHRISTINE LOUISE JONES 2007 TRUST, THE JOHN                                            11TH FLOOR
PAUL JONES II 2007 TRUST, AND THE DOROTHY ANNE JONES 2007 TRUST                                     BALLARD SPAHR LLP                        WILMINGTON DE 19801-3034                                                           BRANNICKN@BALLARDSPAHR.COM       First Class Mail and Email
                                                                                                                                             ATTN: SHRADDHA BHARATIA
                                                                                                                                             P.O. BOX 3001
COUNSEL TO AMERICAN EXPRESS NATIONAL BANK                                                           BECKET & LEE LLP                         MALVERN PA 19355-0701                                                                                               First Class Mail
                                                                                                                                             ATTN: DAVID M. KLAUDER
                                                                                                                                             1204 N. KING STREET
COUNSEL TO LAVANDA SANDS, L.L.C.                                                                    BIELLI & KLAUDER, LLC                    WILMINGTON DE 19801                                                                DKLAUDER@BK-LEGAL.COM            First Class Mail and Email
                                                                                                                                             ATTN: JOSEF W. MINTZ
                                                                                                                                             1201 MARKET STREET
                                                                                                                                             SUITE 800
COUNSEL TO FULCRUM DISTRESSED PARTNERS LIMITED                                                      BLANK ROME LLP                           WILMINGTON DE 19801                                                                JOSEF.MINTZ@BLANKROME.COM        First Class Mail and Email
                                                                                                                                             ATTN: RICK ANTONOFF
                                                                                                                                             1271 AVENUE OF THE AMERICAS
COUNSEL TO FULCRUM DISTRESSED PARTNERS LIMITED                                                      BLANK ROME LLP                           NEW YORK NY 10020                                                                  RICK.ANTONOFF@BLANKROME.COM      First Class Mail and Email
                                                                                                                                             ATTN: SHARON FRASE
                                                                                                                                             1611 TELEGRAPH AVE.,
                                                                                                                                             SUITE 806
COUNSEL TO ISLAND CAPITAL AND PAUL F. ARANHA                                                        BOERSCH & ILLOVSKY LLP                   OAKLAND CA 94612                                                                   SHARON@BOERSCH-ILLOVSKY.COM      First Class Mail and Email
                                                                                                                                                                                                                                KAULET@BROWNRUDNICK.COM
                                                                                                                                             ATTN: KENNETH J. AULET, JEFFREY L. JONAS, MICHAEL WINOGRAD, ALEXANDER F. KASNETZ   JJONAS@BROWNRUDNICK.COM
                                                                                                                                             SEVEN TIMES SQUARE                                                                 MWINOGRAD@BROWNRUDNICK.COM
COUNSEL TO BLOCKFI INC. AND AFFILIATES AS WINDDOWN DEBTORS                                          BROWN RUDNICK LLP                        NEW YORK NY 10036                                                                  AKASNETZ@BROWNRUDNICK.COM        First Class Mail and Email
                                                                                                                                             ATTN: TRISTAN G. AXELROD, SHARI I. DWOSKIN, MATTHEW A. SAWYER                      TAXELROD@BROWNRUDNICK.COM
                                                                                                                                             ONE FINANCIAL CENTER                                                               SDWOSKIN@BROWNRUDNICK.COM
COUNSEL TO BLOCKFI INC. AND AFFILIATES AS WINDDOWN DEBTORS                                          BROWN RUDNICK LLP                        BOSTON MA 02111                                                                    MSAWYER@BROWNRUDNICK.COM         First Class Mail and Email
                                                                                                                                             ATTN: FELICIA BROWNELL
                                                                                                                                             252 MARINERS WAY
COUNSEL TO YUMOU WEI                                                                                BROWNELL LAW GROUP LLC                   BEAR DE 19701                                                                      FBROWNELL@BROWNELLLAWGROUP.COM   First Class Mail and Email
                                                                                                                                             ATTN: SHAWN M. CHRISTIANSON, ESQ.
                                                                                                    BUCHALTER, A PROFESSIONAL                425 MARKET STREET, SUITE 2900
COUNSEL FOR ORACLE AMERICA, INC.                                                                    CORPORATION                              SAN FRANCISCO CA 94105-3493                                                        SCHRISTIANSON@BUCHALTER.COM      First Class Mail and Email
                                                                                                                                             ATTN: JAMES E. BAILEY III, ROBERT CAMPBELL HILLYER
                                                                                                                                             CRESCENT CENTER, SUITE 500
                                                                                                                                             6075 POPLAR AVENUE, P.O. BOX 171443                                                JEB.BAILEY@BUTLERSNOW.COM
COUNSEL TO EVOLVE BANK & TRUST                                                                      BUTLER SNOW LLP                          MEMPHIS TN 38187                                                                   CAM.HILLYER@BUTLERSNOW.COM       First Class Mail and Email
                                                                                                                                             ATTN: MARTIN SOSLAND
                                                                                                                                             2911 TURTLE CREEK BLVD., SUITE 1400
COUNSEL TO EVOLVE BANK & TRUST                                                                      BUTLER SNOW LLP                          DALLAS TX 75219                                                                    MARTIN.SOSLAND@BUTLERSNOW.COM    First Class Mail and Email
                                                                                                                                             ATTN: J. PETER GLAWS, IV, ESQ.
                                                                                                                                             2000 PENNSYLVANIA AVE, NW
                                                                                                                                             STE. 8001
COUNSEL TO SILICON VALLEY ACCOUNTANTS                                                               CARR MALONEY P.C.                        WASHINGTON DC 20006                                                                PETER.GLAWS@CARRMALONEY.COM      First Class Mail and Email
                                                                                                                                             ATTN: AARON R. CAHN
                                                                                                                                             28 LIBERTY STREET
                                                                                                                                             41ST FLOOR
COUNSEL TO PI-CRYPTO LTD., PI 1.0 LP                                                                CARTER LEDYARD & MILBURN LLP             NEW YORK NY 10005                                                                  BANKRUPTCY@CLM.COM               First Class Mail and Email




              In re: FTX Trading Ltd., et al.
              Case No. 22-11068 (JTD)                                                                                                            Page 1 of 10
                                                                                                                             Case 22-11068-JTD   Doc 10154       Filed 03/22/24   Page 7 of 19




                                                                                                                                                        Exhibit B
                                                                                                                                                  Core/2002 Service List
                                                                                                                                                 Served as set forth below



                                                DESCRIPTION                                                                  NAME                                                           ADDRESS                                            EMAIL                     METHOD OF SERVICE

                                                                                                                                                                                                                             STIPE.VULETA@CHAMBERLAINS.COM.AU
COUNSEL TO MICHAEL BURGESS, HUY XUAN “KEVIN” NGUYEN, JING YU                                                                                     ATTN: STIPE VULETA, LACHLAN MCBRIDE, SEBASTIAN BRODOWSKI, SAM KEYS-ASGILL   LACHLAN.MCBRIDE@CHAMBERLAINS.COM.AU
“DARREN” WONG, MATTHEW BURGESS, LESLEY BURGESS, 3TWELVE VENTURES LTD., AND BDK CONSULTING                                                        LEVEL 12 59 GOULBURN STREET                                                 SEBASTIAN.BRODOWSKI@CHAMBERLAINS.COM.AU
LTD                                                                                                        CHAMBERLAINS LAW FIRM                 SYDNEY, NSW 2002 AUSTRALIA                                                  SAM.KEYSASGILL@CHAMBERLAINS.COM.AU        First Class Mail and Email
                                                                                                                                                 ATTN: KAREN M. GRIVNER
                                                                                                                                                 824 N. MARKET STREET
                                                                                                                                                 SUITE 710
COUNSEL TO GEORGIAN PARTNERS, INC.                                                                         CLARK HILL PLC                        WILMINGTON DE 19801                                                         KGRIVNER@CLARKHILL.COM                    First Class Mail and Email
                                                                                                                                                 ATTN: KEVIN H. MORSE
                                                                                                                                                 130 E. RANDOLPH STREET
                                                                                                                                                 SUITE 3900
COUNSEL TO GEORGIAN PARTNERS, INC.                                                                         CLARK HILL PLC                        CHICAGO IL 60601                                                            KMORSE@CLARKHILL.COM                      First Class Mail and Email
                                                                                                                                                 ATTN: JANE VANLARE, BRANDON M. HAMMER
                                                                                                                                                 ONE LIBERTY PLAZA                                                           JVANLARE@CGSH.COM
COUNSEL TO BITGO TRUST COMPANY, INC.                                                                       CLEARY GOTTLIEB STEEN & HAMILTON LLP NEW YORK NY 10006                                                            BHAMMER@CGSH.COM                          First Class Mail and Email
                                                                                                                                                 C/O SUNIL SHAH
                                                                                                                                                 1805 N. CARSON CITY ST.,
                                                                                                                                                 SUITE X-108
COMMITTEE OF UNSECURED CREDITORS                                                                           COINCIDENT CAPITAL INTERNATIONAL, LTD CARSON CITY NV 89701                                                        FTXCC@COINCIDENTCAPITAL.COM               First Class Mail and Email
                                                                                                                                                 ATTN: NORMAN L. PERNICK, ESQ., ANDREW J. ROTH, ESQ.
                                                                                                                                                 500 DELAWARE AVENUE
                                                                                                                                                 SUITE 1410                                                                  NPERNICK@COLESCHOTZ.COM
COUNSEL TO LIGHTSPEED STRATEGIC PARTNERS I L.P., LIGHTSPEED OPPORTUNITY FUND, L.P.                         COLE SCHOTZ P.C.                      WILMINGTON DE 19801                                                         AROTH-MOORE@COLESCHOTZ.COM                First Class Mail and Email
                                                                                                                                                 ATTN: MARTIN B. WHITE
                                                                                                                                                 SENIOR ASSISTANT GENERAL COUNSEL
                                                                                                           COMMODITY FUTURES TRADING             1155 21ST STREET NW
COUNSEL TO COMMODITY FUTURES TRADING COMMISSION, AN AGENCY OF THE UNITED STATES GOVERNMENT                 COMMISSION                            WASHINGTON DC 20581                                                         MWHITE@CFTC.GOV                           First Class Mail and Email
                                                                                                                                                 ATTN: AUDREY MOTT-SMITH
                                                                                                                                                 3 EMBARCADERO CENTER
COUNSEL TO CRAIG SHINDLEDECKER, ADAM BORYENACE, LINDSEY BOERNER, TANA A. LAWLER, STANTON CAMP,                                                   20TH FLOOR
MICHAEL MCGEE AND TIM MILLAR                                                                               COOLEY LLP                            SAN FRANCISCO CA 94111                                                      AMOTTSMITH@COOLEY.COM                     First Class Mail and Email
                                                                                                                                                 ATTN: CULLEN D. SPECKHART
COUNSEL TO THE DEFENDANT WILLIAM HOCKEY LIVING TRUST & DEFENDANTS LISTED ON EXHIBIT A, CRAIG                                                     1299 PENNSYLVANIA AVENUE NW
SHINDLEDECKER, ADAM BORYENACE, LINDSEY BOERNER, TANA A. LAWLER, STANTON CAMP, MICHAEL MCGEE                                                      SUITE 700
AND TIM MILLAR                                                                                             COOLEY LLP                            WASHINGTON DC 20004                                                         CSPECKHART@COOLEY.COM                     First Class Mail and Email
                                                                                                                                                                                                                             MKLEIN@COOLEY.COM
COUNSEL TO THE DEFENDANT WILLIAM HOCKEY LIVING TRUST & DEFENDANTS LISTED ON EXHIBIT A, CRAIG                                                       ATTN: MICHAEL KLEIN, ARIC WU, CAROLINE PIGNATELLI, ERICA J. RICHARDS      AHWU@COOLEY.COM
SHINDLEDECKER, ADAM BORYENACE, LINDSEY BOERNER, TANA A. LAWLER, STANTON CAMP, MICHAEL MCGEE                                                        55 HUDSON YARDS                                                           CPIGNATELLI@COOLEY.COM
AND TIM MILLAR                                                                                             COOLEY LLP                              NEW YORK NY 10001                                                         ERICHARDS@COOLEY.COM                      First Class Mail and Email
COUNSEL TO AAVCF3 LP, ADAPT VC LLC, AKHIL PAUL, BAUDOIN, KIARA, CAROL H. DUGGAN REVOCABLE LIVING
TRUST, CATHEXIS SUBSIDIARIES GP, LLC; CATHEXIS VENTURES, LP, CLARK, DEREK, DUARTE, JONATHAN, DWYER,
JOHN, EM FUND I, A SERIES OF CHRIS GOLDA INVESTMENTS, LP, EMBEDFI JUNE 2021, A SERIES OF PARTY ROUND
LLC, FAIRCHILD FUND III, LLC, FERRARI, MICHAEL, FRANK, AARON, FUND I, A SERIES OF 20VC, LP, FUND I, A SERIES
OF NOT BORING CAPITAL, LP, GARDNER, CLAYTON, GILES, MICHAEL, HARLAND GROUP LLC, HARPER,
CHRISTOPHER, HARPER, STEPHEN, JABRE, PHILIPPE, JOHNSON, BRENT, KV5 PTY LTD ATF KV5 TRUST, KERR
INVESTMENT HOLDINGS PTY LTD A/T/F THE KERR FAMILY TRUST, KICK THE HIVE LLC, LONDERGAN, BENJAMIN,
LOVERO, JUSTIN, LYON, MATTHEW, MANN, BRANDON, MEENTS, DAVID, MOTIVATE VENTURES FUND I, LP,
MOTIVATE VENTURES QP FUND I, LP, NICHOLS, JAMES, NORDBY, CHRISTIAN, OPERATOR PARTNERS, LLC,
PERCOCO, JOE, PETER T. LAWLER LIVING TRUST, PRUVEN CAPITAL PARTNERS FUND I, LP, S20, A SERIES OF CHRIS
GOLDA INVESTMENTS, LP, SWS HOLDING COMPANY, LLC STUART SOPP, SAUGSTAD, MONIQUE, SILVERSTONE
VENTURE INVESTMENTS LIMITED, SLATE, JOSHUA ALLEN, SOMA CAPITAL FUND, III, LP, SOMA CAPITAL FUND III
PARTNERS LLC, SOPP, STUART, THE GARDNER 2008 LIVING TRUST, THOMAS G. MIGLIS REVOCABLE TRUST,
TRIPLEPOINT PRIVATE VENTURE CREDIT INC., TRIPLEPOINT VENTURE LENDING FUND, LLC, TRIPLEPOINT VENTURES
5 LLC, VENTURESOUQ CAPITAL SPC O/B/O VSQ SP 59 (YCS20), WEINER, JONATHAN, WEVER, DENA, YASELLERAPH
FINANCE PTY LTD ATF YASELLERAPH FINANCE TRUST, YOUNG, CHRISTOPHER, Z PERRET TRUST, 9YARDS CAPITAL                                                  ATTN: PHILIP M. BOWMAN, ESQ.
INVESTMENTS II LP AND WILLIAM HOCKEY LIVING TRUST, CRAIG SHINDLEDECKER, ADAM BORYENACE, LINDSEY                                                    55 HUDSON YARDS
BOERNER, TANA A. LAWLER, STANTON CAMP, MICHAEL MCGEE AND TIM MILLAR                                          COOLEY LLP                            NEW YORK NY 10001                                                         PBOWMAN@COOLEY.COM                        First Class Mail and Email
                                                                                                                                                   ESQ., SCOTT D. JONES, ESQ.
                                                                                                                                                   BRANDYWINE PLAZA WEST
                                                                                                                                                   1521 CONCORD PIKE, SUITE 301
COUNSEL TO EVOLVE BANK & TRUST                                                                             COUSINS LAW LLC                         WILMINGTON DE 19801                                                       SCOTT.JONES@COUSINS-LAW.COM               First Class Mail and Email
                                                                                                                                                   ATTN: FREDERICK SCHMIDT
                                                                                                                                                   3WTC, 175 GREENWICH STREET
                                                                                                                                                   55TH FLOOR
COUNSEL TO BH TRADING LTD., GRANT KIM AND PETER KIM                                                        COZEN O’CONNOR                          NEW YORK NY 10007                                                         ESCHMIDT@COZEN.COM                        First Class Mail and Email




              In re: FTX Trading Ltd., et al.
              Case No. 22-11068 (JTD)                                                                                                                  Page 2 of 10
                                                                                                                        Case 22-11068-JTD   Doc 10154       Filed 03/22/24   Page 8 of 19




                                                                                                                                                   Exhibit B
                                                                                                                                             Core/2002 Service List
                                                                                                                                            Served as set forth below



                                               DESCRIPTION                                                              NAME                                                           ADDRESS                                                       EMAIL                   METHOD OF SERVICE
                                                                                                                                              ATTN: THOMAS J. FRANCELLA
                                                                                                                                              1201 N. MARKET STREET, SUITE 1001
COUNSEL TO BH TRADING LTD., GRANT KIM AND PETER KIM                                                COZEN O’CONNOR                             WILMINGTON DE 19801                                                                 TFRANCELLA@COZEN.COM                     First Class Mail and Email
                                                                                                                                              ATTN: KEVIN S. MANN
                                                                                                                                              1105 NORTH MARKET STREET
                                                                                                                                              SUITE 901
COUNSEL TO LIQUIDITY SOLUTIONS GLOBAL LTD. (THE “LSG”)                                             CROSS & SIMON LLC                          WILMINGTON DE 19801                                                                 KMANN@CROSSLAW.COM                       First Class Mail and Email
                                                                                                                                              ATTN: CHRISTOPHER P. SIMON
COUNSEL TO ROCKET INTERNET CAPITAL PARTNERS II SCS, ROCKET INTERNET CAPITAL PARTNERS (EURO) II SCS,                                           1105 NORTH MARKET STREET
GFC GLOBAL FOUNDERS CAPITAL GMBH AND GFC GLOBAL FOUNDERS CAPITAL GMBH & CO. BETEILIGUNGS KG NR.                                               SUITE 901
1                                                                                                   CROSS & SIMON, LLC                        WILMINGTON DE 19801                                                                 CSIMON@CROSSLAW.COM                      First Class Mail and Email
                                                                                                                                              ATTN: FREDERICK HYMAN
                                                                                                                                              590 MADISON AVE
COUNSEL TO LAVANDA SANDS, L.L.C.                                                                   CROWELL & MORING LLP                       NEW YORK NY 10022                                                                   FHYMAN@CROWELL.COM                       First Class Mail and Email
                                                                                                                                              ATTN: M. NATASHA LABOVITZ, ESQ., ELIE J. WORENKLEIN, ESQ., MICHAEL C. GODBE, ESQ.   NLABOVITZ@DEBEVOISE.COM
                                                                                                                                              66 HUDSON BOULEVARD                                                                 EWORENKLEIN@DEBEVOISE.COM
COUNSEL TO LIGHTSPEED STRATEGIC PARTNERS I L.P., LIGHTSPEED OPPORTUNITY FUND, L.P.                 DEBEVOISE & PLIMPTON LLP                   NEW YORK NY 10001                                                                   MCGODBE@DEBEVOISE.COM                    First Class Mail and Email
                                                                                                                                              ATTN: SIDNEY P. LEVINSON, JASMINE BALL
                                                                                                                                              66 HUDSON BOULEBARD                                                                 SLEVINSON@DEBEVOISE.COM
COUNSEL FOR PARADIGM OPERATIONS LP                                                                 DEBEVOISE & PLIMPTON LLP                   NEW YORK NY 10001                                                                   JBALL@DEBEVOISE.COM                      First Class Mail and Email
                                                                                                                                              ATTN: ZILLAH FRAMPTON
                                                                                                                                              820 N FRENCH ST
DELAWARE DIVISION OF REVENUE                                                                       DELAWARE DIVISION OF REVENUE               WILMINGTON DE 19801                                                                 FASNOTIFY@STATE.DE.US                    First Class Mail and Email
                                                                                                                                              CORPORATIONS FRANCHISE TAX
                                                                                                                                              P.O. BOX 898
DELAWARE SECRETARY OF STATE                                                                        DELAWARE SECRETARY OF STATE                DOVER DE 19903                                                                      DOSDOC_FTAX@STATE.DE.US                  First Class Mail and Email
                                                                                                                                              ATTN: BANKRUPTCY DEPT
                                                                                                                                              820 SILVER LAKE BLVD
                                                                                                                                              STE 100
DELAWARE STATE TREASURY                                                                            DELAWARE STATE TREASURY                    DOVER DE 19904                                                                      STATETREASURER@STATE.DE.US               First Class Mail and Email
                                                                                                                                              ATTN: AARON S. APPLEBAUM
                                                                                                                                              1201 NORTH MARKET STREET
                                                                                                                                              SUITE 2100
COUNSEL TO MAPS VAULT LTD.                                                                         DLA PIPER LLP                              WILMINGTON DE 19801                                                                 AARON.APPLEBAUM@US.DLAPIPER.COM          First Class Mail and Email
                                                                                                                                              ATTN: AARON S. APPLEBAUM
                                                                                                                                              1201 NORTH MARKET STREET
                                                                                                                                              SUITE 2100
COUNSEL TO MAPS VAULT LTD. AND OXYGEN VAULT LTD.                                                   DLA PIPER LLP (US)                         WILMINGTON DE 19801                                                                 AARON.APPLEBAUM@US.DLAPIPER.COM          First Class Mail and Email
                                                                                                                                              ATTN: DENNIS C. O’DONNELL
                                                                                                                                              1251 AVENUE OF THE AMERICAS
COUNSEL TO MAPS VAULT LTD. AND OXYGEN VAULT LTD.                                                   DLA PIPER LLP (US)                         NEW YORK NY 10020                                                                   DENNIS.ODONNELL@DLAPIPER.COM             First Class Mail and Email
                                                                                                                                              ATTN: JEFFREY TOROSIAN
                                                                                                                                              444 W. LAKE STREET
                                                                                                                                              SUITE 900
COUNSEL TO MAPS VAULT LTD. AND OXYGEN VAULT LTD.                                                   DLA PIPER LLP (US)                         CHICAGO IL 60606                                                                    JEFFREY.TOROSIAN@DLAPIPER.COM            First Class Mail and Email
                                                                                                                                              ATTN: AMISH R. DOSHI
                                                                                                                                              1979 MARCUS AVENUE, SUITE 210E
COUNSEL TO ORACLE AMERICA, INC.                                                                    DOSHI LEGAL GROUP, P.C.                    LAKE SUCCESS NY 11042                                                               AMISH@DOSHILEGAL.COM                     First Class Mail and Email
                                                                                                                                              ATTN: THOMAS A. PITTA, ESQ. JUDITH SWARTZ, ESQ.
                                                                                                                                              120 BROADWAY, 32ND FLOOR                                                            JSWARTZ@EMMETMARVIN.COM
COUNSEL TO CADIAN                                                                                  EMMET, MARVIN & MARTIN, LLP                NEW YORK NY 10271                                                                   TPITTA@EMMETMARVIN.COM                   First Class Mail and Email
                                                                                                                                              ATTN BANKRUPTCY DIVISION
                                                                                                                                              290 BROADWAY
ENVIRONMENTAL PROTECTION AGENCY - REGION 2                                                         ENVIRONMENTAL PROTECTION AGENCY            NEW YORK NY 10007-1866                                                                                                       First Class Mail
                                                                                                                                              ATTN: GENERAL COUNSEL
                                                                                                                                              OFFICE OF GENERAL COUNSEL 2310A
                                                                                                                                              1200 PENNSYLVANIA AVE NW, 2310A
ENVIRONMENTAL PROTECTION AGENCY                                                                    ENVIRONMENTAL PROTECTION AGENCY            WASHINGTON DC 20460                                                                                                          First Class Mail
                                                                                                                                              ATTN: ANDREA L. GORDON
                                                                                                                                              700 SIXTH STREET NW, SUITE 700
COUNSEL TO THE AD HOC COMMITTEE OF NON US CUSTOMERS OF FTX.COM                                     EVERSHEDS SUTHERLAND (US) LLP              WASHINGTON DC 20001                                                                 ANDREAGORDON@EVERSHEDS-SUTHERLAND.COM    First Class Mail and Email
                                                                                                                                              ATTN: ERIN E. BRODERICK
                                                                                                                                              227 WEST MONROE STREET, SUITE 6000
COUNSEL TO THE AD HOC COMMITTEE OF NON US CUSTOMERS OF FTX.COM                                     EVERSHEDS SUTHERLAND (US) LLP              CHICAGO IL 60606                                                                    ERINBRODERICK@EVERSHEDS-SUTHERLAND.COM   First Class Mail and Email
                                                                                                                                              ATTN: MARK D. SHERRILL
                                                                                                                                              1001 FANNIN STREET, SUITE 3700
COUNSEL TO THE AD HOC COMMITTEE OF NON US CUSTOMERS OF FTX.COM                                     EVERSHEDS SUTHERLAND (US) LLP              HOUSTON TX 77002                                                                    MARKSHERRILL@EVERSHEDS-SUTHERLAND.COM    First Class Mail and Email




             In re: FTX Trading Ltd., et al.
             Case No. 22-11068 (JTD)                                                                                                              Page 3 of 10
                                                                                                                   Case 22-11068-JTD      Doc 10154       Filed 03/22/24   Page 9 of 19




                                                                                                                                                 Exhibit B
                                                                                                                                           Core/2002 Service List
                                                                                                                                          Served as set forth below



                                               DESCRIPTION                                                         NAME                                                               ADDRESS                                                      EMAIL                   METHOD OF SERVICE
                                                                                                                                            ATTN: PETER A. IVANICK, SARAH E. PAUL, PHILIP H. EHRLICH, LYNN W. HOLBERT           PETERIVANICK@EVERSHEDS-SUTHERLAND.COM
                                                                                                                                            THE GRACE BUILDING, 40TH FLOOR                                                      SARAHPAUL@EVERSHEDS-SUTHERLAND.COM
                                                                                                                                            1114 AVENUE OF THE AMERICAS                                                         PHILIPEHRLICH@EVERSHEDS-SUTHERLAND.COM
COUNSEL TO THE AD HOC COMMITTEE OF NON US CUSTOMERS OF FTX.COM                                     EVERSHEDS SUTHERLAND (US) LLP            NEW YORK NY 10036                                                                   LYNNHOLBERT@EVERSHEDS-SUTHERLAND.COM     First Class Mail and Email
                                                                                                                                            ATTN: MICHAEL J. SMALL
                                                                                                                                            321 NORTH CLARK STREET, SUITE 3000
COUNSEL TO MERCEDES-BENZ GRAND PRIX LIMITED                                                        FOLEY & LARDNER LLP                      CHICAGO IL 60654                                                                    MSMALL@FOLEY.COM                         First Class Mail and Email
                                                                                                                                            ATTN: SAMANTHA RUPPENTHAL
                                                                                                                                            90 PARK AVENUE
COUNSEL TO MERCEDES-BENZ GRAND PRIX LIMITED                                                        FOLEY & LARDNER LLP                      NEW YORK NY 10016                                                                   SRUPPENTHAL@FOLEY.COM                    First Class Mail and Email
                                                                                                                                            ATTN: GREGORY L. ARBOGAST
                                                                                                                                            1000 N. WEST STREET
                                                                                                                                            SUITE 1200
COUNSEL TO BRANDON WILLIAMS                                                                        GEBHARDT & SMITH LLP                     WILMINGTON DE 19081                                                                 GARBOGAST@GEBSMITH.COM                   First Class Mail and Email
                                                                                                                                            ATTN: MICHAEL BUSENKELL
                                                                                                                                            1201 NORTH ORANGE STREET
                                                                                                                                            SUITE 300
COUNSEL TO BLOCKFI INC. AND AFFILIATES AS WINDDOWN DEBTORS                                         GELLERT SCALI BUSENKELL & BROWN, LLC     WILMINGTON DE 19801                                                                 MBUSENKELL@GSBBLAW.COM                   First Class Mail and Email
                                                                                                                                            ATTN: CHRISTOPHER VICECONTE, ESQ.
                                                                                                                                            300 DELAWARE AVENUE
                                                                                                                                            SUITE 1015
COUNSEL TO DR. MARCEL LÖTSCHER                                                                     GIBBONS P.C.                             WILMINGTON DE 19801-1671                                                            CVICECONTE@GIBBONSLAW.COM                First Class Mail and Email
                                                                                                                                            ATTN: ROBERT K. MALONE, ESQ., BRETT S. THEISEN, ESQ.
                                                                                                                                            KYLE P. MCEVILLY, ESQ.                                                              RMALONE@GIBBONSLAW.COM
                                                                                                                                            ONE GATEWAY CENTER                                                                  BTHEISEN@GIBBONSLAW.COM
COUNSEL TO DR. MARCEL LÖTSCHER                                                                     GIBBONS P.C.                             NEWARK NJ 07102-5310                                                                KMCEVILLY@GIBBONSLAW.COM                 First Class Mail and Email
                                                                                                                                            ATTN: SCOTT D. SIMON, ESQ.
                                                                                                                                            ONE PENN PLAZA
                                                                                                                                            SUITE 3100
COUNSEL TO LATONA BIOSCIENCES GROUP AND ROSS RHEINGANS-YOO                                         GOETZ FITZPATRICK LLP                    NEW YORK NY 10119                                                                   SSIMON@GOETZFITZ.COM                     First Class Mail and Email
                                                                                                                                            ATTN: BRIAN DAVIDOFF
                                                                                                                                            2049 CENTURY PARK EAST
                                                                                                   GREENBERG GLUSKER FIELDS CLAMAN &        STE 2600
COUNSEL FOR NORTH AMERICAN LEAGUE OF LEGENDS CHAMPIONSHIP SERIES, LLC                              MACHTINGER LLP                           LOS ANGELES CA 90067-4590                                                           BDAVIDOFF@GREENBERGGLUSKER.COM           First Class Mail and Email
                                                                                                                                            ATTN: RICHARD D. ANIGIAN, CHARLES M. JONES II
                                                                                                                                            2323 VICTORY AVENUE
                                                                                                                                            SUITE 700                                                                           RICK.ANIGIAN@HAYNESBOONE.COM
COUNSEL TO BLOCKFI INC. AND AFFILIATES, BLOCKFI INC. AND AFFILIATES AS WINDDOWN DEBTORS            HAYNES AND BOONE, LLP                    DALLAS TX 75219                                                                     CHARLIE.JONES@HAYNESBOONE.COM            First Class Mail and Email
                                                                                                                                            ATTN: RICHARD KANOWITZ
                                                                                                                                            30 ROCKEFELLER PLAZA
                                                                                                                                            26TH FLOOR
COUNSEL TO BLOCKFI INC. AND AFFILIATES, BLOCKFI INC. AND AFFILIATES AS WINDDOWN DEBTORS             HAYNES AND BOONE, LLP                   NEW YORK NY 10112                                                                   RICHARD.KANOWITZ@HAYNESBOONE.COM         First Class Mail and Email
COUNSEL TO ROCKET INTERNET CAPITAL PARTNERS II SCS, ROCKET INTERNET CAPITAL PARTNERS (EURO) II SCS,                                         ATTN: DENNIS H. TRACEY, III, JOHN D. BECK, MAYA JUMPER                              DENNIS.TRACEY@HOGANLOVELLS.COM
GFC GLOBAL FOUNDERS CAPITAL GMBH AND GFC GLOBAL FOUNDERS CAPITAL GMBH & CO. BETEILIGUNGS KG NR.                                             390 MADISON AVENUE                                                                  DENNIS.TRACEY@HOGANLOVELLS.COM
1                                                                                                   HOGAN LOVELLS US LLP                    NEW YORK NY 10017                                                                   MAYA.JUMPER@HOGANLOVELLS.COM             First Class Mail and Email
                                                                                                                                                                                                                                WARREN.GLUCK@HKLAW.COM
                                                                                                                                            ATTN: WARREN E. GLUCK, ESQ., MARIE E. LARSEN, ESQ., DAVID W. WIRT, JESSICA MAGEE,   MARIE.LARSEN@HKLAW.COM
                                                                                                                                            SHARDUL DESAI                                                                       DAVID.WIRT@HKLAW.COM
                                                                                                                                            31 W. 52ND STREET                                                                   JESSICA.MAGEE@HKLAW.COM
COUNSEL TO JOINT PROVISIONAL LIQUIDATORS OF FTX                                                    HOLLAND & KNIGHT LLP                     NEW YORK NY 10019                                                                   SHARDUL.DESAI@HKLAW.COM                  First Class Mail and Email
COUNSEL TO MICHAEL BURGESS, HUY XUAN “KEVIN” NGUYEN, JING YU
“DARREN” WONG, MATTHEW BURGESS, LESLEY BURGESS, 3TWELVE VENTURES LTD., AND BDK CONSULTING                                                   LEVEL 8 224 BUNDA STREET
LTD                                                                                                HUGH SMITH ESQUIRE                       CANBERRA CITY, ACT 2601 AUSTRALIA                                                   HUGH.SMITH@CHAMBERLAINS.COM.AU           First Class Mail and Email
                                                                                                                                            CENTRALIZED INSOLVENCY OPERATION
                                                                                                                                            2970 MARKET ST
                                                                                                                                            MAIL STOP 5-Q30.133
IRS INSOLVENCY SECTION                                                                             INTERNAL REVENUE SERVICE                 PHILADELPHIA PA 19104-5016                                                                                                   First Class Mail
                                                                                                                                            CENTRALIZED INSOLVENCY OPERATION
                                                                                                                                            P.O. BOX 7346
IRS INSOLVENCY SECTION                                                                             INTERNAL REVENUE SERVICE                 PHILADELPHIA PA 19101-7346                                                                                                   First Class Mail
                                                                                                                                            ATTN: MICHAEL J. JOYCE, ESQ.
                                                                                                                                            1225 KING STREET
                                                                                                                                            SUITE 800
COUNSEL TO LATONA BIOSCIENCES GROUP AND ROSS RHEINGANS-YOO                                         JOYCE, LLC                               WILMINGTON DE 19801                                                                 MJOYCE@MJLAWOFFICES.COM                  First Class Mail and Email
                                                                                                                                            ATTN: BRIAN D. KOOSED, ESQ.
COUNSEL TO ALUMNI VENTURES GROUP AND ALUMNI VENTURES GROUP - EMBEDDED FINANCIAL TECHNOLOGIES                                                1602 K STREET NW
TRUST A                                                                                      K&L GATES LLP                                  WASHINGTON DC 20006-1600                                                            BRIAN.KOOSED@KLGATES.COM                 First Class Mail and Email




             In re: FTX Trading Ltd., et al.
             Case No. 22-11068 (JTD)                                                                                                            Page 4 of 10
                                                                                                                  Case 22-11068-JTD    Doc 10154      Filed 03/22/24   Page 10 of 19




                                                                                                                                              Exhibit B
                                                                                                                                        Core/2002 Service List
                                                                                                                                       Served as set forth below



                                               DESCRIPTION                                                        NAME                                                            ADDRESS                                                    EMAIL            METHOD OF SERVICE
                                                                                                                                         ATTN: ROBERT T. HONEYWELL, ESQ.
COUNSEL TO ALUMNI VENTURES GROUP AND ALUMNI VENTURES GROUP - EMBEDDED FINANCIAL TECHNOLOGIES                                             599 LEXINGTON AVENUE
TRUST A                                                                                      K&L GATES LLP                               NEW YORK NY 10022-6030                                                           ROBERT.HONEYWELL@KLGATES.COM      First Class Mail and Email
                                                                                                                                         ATTN: STEVEN L. CAPONI, ESQ., MATTHEW B. GOELLER, ESQ.
                                                                                                                                         600 N. KING STREET
COUNSEL TO ALUMNI VENTURES GROUP AND ALUMNI VENTURES GROUP - EMBEDDED FINANCIAL TECHNOLOGIES                                             SUITE 901                                                                        STEVEN.CAPONI@KLGATES.COM
TRUST A                                                                                      K&L GATES LLP                               WILMINGTON DE 19801                                                              MATTHEW.GOELLER@KLGATES.COM       First Class Mail and Email
                                                                                                                                         ATTN: ANN M. KASHISHIAN
                                                                                                                                         501 SILVERSIDE ROAD, SUITE 85
COUNSEL TO GABRIEL RECCHIA, CACENDISH LABS CO., BRADEN LEACH                                     KASHISHIAN LAW LLC                      WILMINGTON DE 19809                                                              AMK@KASHISHIANLAW.COM             First Class Mail and Email
                                                                                                                                         ATTN: JANE KIM, GABRIELLE L. ALBERT
                                                                                                                                         650 CALIFORNIA ST. #1900                                                         JKIM@KBKLLP.COM
COUNSEL TO ISLAND CAPITAL AND PAUL F. ARANHA                                                     KELLER BENVENUTTI KIM LLP               SAN FRANCISCO CA 94108                                                           GALBERT@KBKLLP.COM                First Class Mail and Email
                                                                                                                                         ATTN: LOUIS M. PHILLIPS
                                                                                                                                         301 MAIN ST., SUITE 1600
COUNSEL FOR WORD OF GOD FELLOWSHIP, INC.                                                         KELLY HART & HALLMAN LLP                BATON ROUGE LA 70801                                                             LOUIS.PHILLIPS@KELLYHART.COM      First Class Mail and Email
                                                                                                                                         ATTN: MICHAEL D. ANDERSON
                                                                                                                                         201 MAIN STREET, SUITE 2500
COUNSEL FOR WORD OF GOD FELLOWSHIP, INC.                                                         KELLY HART & HALLMAN LLP                FORT WORTH TX 76102                                                              MICHAEL.ANDERSON@KELLYHART.COM    First Class Mail and Email
                                                                                                                                                                                                                          LANDIS@LRCLAW.COM
                                                                                                                                                                                                                          BROWN@LRCLAW.COM
                                                                                                                                         ATTN: ADAM G. LANDIS, KIMBERLY A. BROWN, MATTHEW R. PIERCE, NICOLAS E. JENNER,   PIERCE@LRCLAW.COM
                                                                                                                                         GEORGE A. WILLIAMS III, MATTHEW MCGUIRE, HOWARD W. ROBERTSON IV                  JENNER@LRCLAW.COM
                                                                                                                                         919 MARKET STREET                                                                WILLIAMS@LRCLAW.COM
                                                                                                                                         SUITE 1800                                                                       MCGUIRE@LRCLAW.COM
COUNSEL TO DEBTORS AND DEBTORS IN POSSESSION AND MACLAURIN INVESTMENTS LTD.                      LANDIS RATH & COBB LLP                  WILMINGTON DE 19801                                                              ROBERTSON@LRCLAW.COM              Email
                                                                                                                                         ATTN: SCOTT D. COUSINS
                                                                                                                                         500 DELAWARE AVE
                                                                                                                                         SUITE 700
COUNSEL TO EVOLVE BANK & TRUST                                                                   LEWIS BRISBOIS BISGAARD & SMITH LLP     WILMINGTON DE 19801                                                              SCOTT.COUSINS@LEWISBRISBOIS.COM   First Class Mail and Email
                                                                                                                                         ATTN: IRA S. GREENE
                                                                                                                                         200 VESEY STREET
COUNSEL TO PHALA LTD.                                                                            LOCKE LORD LLP                          NEW YORK NY 10281                                                                IRA.GREENE@LOCKELORD.COM          First Class Mail and Email
                                                                                                                                         ATTN: ANDREW BEHLMANN, COLLEEN M. RESTEL
                                                                                                                                         ONE LOWENSTEIN DRIVE                                                             ABEHLMANN@LOWENSTEIN.COM
COUNSEL TO LIQUIDITY SOLUTIONS GLOBAL LTD. (THE “LSG”)                                           LOWENSTEIN SANDLER LLP                  ROSELAND NJ 07068                                                                CRESTEL@LOWENSTEIN.COM            First Class Mail and Email
                                                                                                                                         ATTN: JEFFREY S. PRICE, MELISSA J. LEE, SCOTT C. WILLIAMS
                                                                                                                                         1201 DEMONBREUN STREET                                                           JPRICE@MANIERHEROD.COM
                                                                                                                                         SUITE 900                                                                        MLEE@MANIERHEROD.COM
COUNSEL TO PHILADELPHIA INDEMNITY INSURANCE COMPANY                                              MANIER HEROD, P.C.                      NASHVILLE TN 37213                                                               SWILLIAMS@MANIERHEROD.COM         First Class Mail and Email
                                                                                                                                         ATTN: CELINE E. DE LA FOSCADE-CONDON
                                                                                                 MASSACHUSETTS DEPARTMENT OF             100 CAMBRIDGE STREET, P.O. BOX 9565
COUNSEL TO THE COMMISSIONER MASSACHUSETTS DEPARTMENT OF REVENUE                                  REVENUE                                 BOSTON MA 02114                                                                  DELAFOSCAC@DOR.STATE.MA.US        First Class Mail and Email
                                                                                                                                         ATTN: DAVID ADLER ESQ.
                                                                                                                                         WORLDWIDE PLAZA
                                                                                                                                         825 EIGHTH AVE., 31ST FLOOR
COUNSEL TO SUNIL KAVURI, AHMED ABD-EL-RAZEK NOIA CAPITAL SARL, PAT RABITTE                       MCCARTER & ENGLISH LLP                  NEW YORK NY 10019                                                                DADLER@MCARTER.COM                First Class Mail and Email
                                                                                                                                         ATTN: KATE ROGGIO BUCK, MATTHEW J. RIFINO, SHANNON D. HUMISTON
                                                                                                                                         RENAISSANCE CENTRE                                                               KBUCK@MCCARTER.COM
COUNSEL TO LIGHTCONE INFRASTRUCTURE, CENTER FOR APPLIED RATIONALITY (“CFAR”), SUNIL KAVURI, AHMED                                        405 N. KING STREET, 8TH FLOOR                                                    MRIFINO@MCCARTER.COM
ABD-EL-RAZEK NOIA CAPITAL SARL, PAT RABITTE, BIDDER 1                                             MCCARTER & ENGLISH LLP                 WILMINGTON DE 19801                                                              SHUMISTON@MCCARTER.COM            First Class Mail and Email
                                                                                                                                         ATTN: LISA S. BOSSALL, PHILLIP S. PAVLICK
                                                                                                                                         FOUR GATEWAY CENTER
                                                                                                                                         100 MULBERYY STREET                                                              LLBONSALL@MCCARTER.COM
COUNSEL TO BIDDER 1                                                                              MCCARTER & ENGLISH LLP                  NEWARK NJ 07102                                                                  PPAVLICK@MCCARTER.COM             First Class Mail and Email
                                                                                                                                         ATTN: DARREN AZMAN, JOHN J. CALANDRA                                             DAZMAN@MWE.COM
                                                                                                                                         JOSEPH B. EVANS, ELIZABETH RODD                                                  JCALANDRA@MWE.COM
PLAN ADMINISTRATOR (THE “PLAN ADMINISTRATOR”) AS MANAGER OF VOYAGER DIGITAL HOLDINGS, INC.,                                              ONE VANDERBILT AVENUE                                                            JBEVANS@MWE.COM
VOYAGER DIGITAL LTD., AND VOYAGER DIGITAL, LLC, THE WIND-DOWN DEBTORS                            MCDERMOTT WILL & EMERY LLP              NEW YORK NY 10017-3852                                                           ERODD@MWE.COM                     First Class Mail and Email
                                                                                                                                         ATTN: MARIS J. KANDESTIN
                                                                                                                                         THE NEMOURS BUIDLING
PLAN ADMINISTRATOR (THE “PLAN ADMINISTRATOR”) AS MANAGER OF VOYAGER DIGITAL HOLDINGS, INC.,                                              1007 NORTH ORANGE STREET, 10TH FLOOR
VOYAGER DIGITAL LTD., AND VOYAGER DIGITAL, LLC, THE WIND-DOWN DEBTORS                            MCDERMOTT WILL & EMERY LLP              WILMINGTON DE 19801                                                              MKANDESTIN@MWE.COM                First Class Mail and Email
                                                                                                                                         ATTN: GARY D. BRESSLER, DAVID P. PRIMACK
                                                                                                                                         300 DELAWARE AVENUE
                                                                                                 MCELROY, DEUTSCH, MULVANEY &            SUITE 1014                                                                       GBRESSLER@MDMC-LAW.COM
COUNSEL TO PHILADELPHIA INDEMNITY INSURANCE COMPANY, NEW JERSEY BUREAU OF SECURITIES             CARPENTER, LLP                          WILMINGTON DE 19801                                                              DPRIMACK@MDMC-LAW.COM             First Class Mail and Email




             In re: FTX Trading Ltd., et al.
             Case No. 22-11068 (JTD)                                                                                                         Page 5 of 10
                                                                                                                 Case 22-11068-JTD      Doc 10154      Filed 03/22/24   Page 11 of 19




                                                                                                                                               Exhibit B
                                                                                                                                         Core/2002 Service List
                                                                                                                                        Served as set forth below



                                              DESCRIPTION                                                        NAME                                                              ADDRESS                                                  EMAIL            METHOD OF SERVICE
                                                                                                                                          ATTN: JEFFREY BERNSTEIN
                                                                                                 MCELROY, DEUTSCH, MULVANEY &             570 BROAD STREET
COUNSEL TO NEW JERSEY BUREAU OF SECURITIES                                                       CARPENTER, LLP                           SUITE 1401                                                                     JBERNSTEIN@MDMC-LAW.COM           First Class Mail and Email
                                                                                                                                          ATTN: MICHAEL R. MORANO, ESQ.
                                                                                                                                          1300 MT. KEMBLE AVENUE
                                                                                                 MCELROY, DEUTSCH, MULVANEY &             P.O. BOX 2075
COUNSEL TO PHILADELPHIA INDEMNITY INSURANCE COMPANY                                              CARPENTER, LLP                           MORRISTOWN NJ 07962                                                            MMORANO@MDMC-LAW.COM              First Class Mail and Email
                                                                                                                                          ATTN: NICOLE LEONARD
                                                                                                                                          225 LIBERTY STREET
                                                                                                 MCELROY, DEUTSCH, MULVANEY &             36TH FLOOR
COUNSEL TO NEW JERSEY BUREAU OF SECURITIES                                                       CARPENTER, LLP                           NEW YORK NY 10281                                                              NLEONARD@MDMC-LAW.COM             First Class Mail and Email
                                                                                                                                          BANKRUPTCY UNIT
                                                                                                 MIAMI-DADE OFFICE OF THE TAX             200 NW 2ND AVENUE, #430                                                        PRISCILLA.WINDLEY@MIAMIDADE.GOV
GOVERNMENTAL                                                                                     COLLECTOR                                MIAMI FL 33128                                                                 MDTCBKC@MIAMIDADE.GOV             First Class Mail and Email
                                                                                                                                          ATTN: STEVEN A. GINTHER, GENERAL COUNSEL
                                                                                                                                          PO BOX 475
MISSOURI DEPARTMENT OF REVENUE                                                                   MO BANKRUPTCY UNIT                       JEFFERSON CITY MO 65105-0475                                                   DEECF@DOR.MO.GOV                  First Class Mail and Email
                                                                                                                                          ATTN: JODY C. BARILLARE
                                                                                                                                          1201 N. MARKET STREET
                                                                                                                                          SUITE 2201
COUNSEL TO THE JOINT PROVISIONAL LIQUIDATORS OF EMERGENT FIDELITY TECHNOLOGIES LTD               MORGAN, LEWIS & BOCKIUS LLP              WILMINGTON DE 19801                                                            JODY.BARILLARE@MORGANLEWIS.COM    First Class Mail and Email
                                                                                                                                          ATTN: JOHN C. GOODCHILD III; MATTHEW C. ZIEGLER
                                                                                                                                          1701 MARKET STREET                                                             JOHN.GOODCHILD@MORGANLEWIS.COM
COUNSEL TO THE JOINT PROVISIONAL LIQUIDATORS OF EMERGENT FIDELITY TECHNOLOGIES LTD               MORGAN, LEWIS & BOCKIUS LLP              PHILADELPHIA PA 19103                                                          MATTHEW.ZIEGLER@MORGANLEWIS.COM   First Class Mail and Email
                                                                                                                                          ATTN: JOSHUA DORCHAK; DAVID K. SHIM
                                                                                                                                          101 PARK AVENUE                                                                JOSHUA.DORCHAK@MORGANLEWIS.COM
COUNSEL TO THE JOINT PROVISIONAL LIQUIDATORS OF EMERGENT FIDELITY TECHNOLOGIES LTD               MORGAN, LEWIS & BOCKIUS LLP              NEW YORK NY 10178                                                              DAVID.SHIM@MORGANLEWIS.COM        First Class Mail and Email
                                                                                                                                                                                                                         EMONZO@MORRISJAMES.COM
COUNSEL TO MICHAEL BURGESS, HUY XUAN “KEVIN” NGUYEN, JING YU                                                                              ATTN: ERIC J. MONZO, TARA C. PAKROUH, CHRISTOPHER M. DONNELLY
“DARREN” WONG, MATTHEW BURGESS, LESLEY BURGESS, 3TWELVE VENTURES LTD., AND BDK CONSULTING LTD,                                            500 DELAWARE AVENUE SUITE 1500                                                 TPAKROUH@MORRISJAMES.COM
GENETIC NETWORKS LLC                                                                             MORRIS JAMES LLP                         WILMINGTON DE 19801                                                            CDONNELY@MORRISJAMES.COM          First Class Mail and Email
                                                                                                                                          ATTN: ERIC J. MONZO, SARAH M. ENNIS
                                                                                                                                          TARA C. PAKROUTH                                                               EMONZO@MORRISJAMES.COM
                                                                                                                                          500 DELAWARE AVENUE, SUITE 1500                                                SENNIS@MORRISJAMES.COM
COUNSEL TO LAURENCE BEAL                                                                         MORRIS JAMES LLP                         WILMINGTON DE 19801                                                            TPAKROUH@MORRISJAMES.COM          First Class Mail and Email
                                                                                                                                          ATTN: DONNA L. CULVER, DANIEL B. BUTZ
                                                                                                                                          1201 NORTH MARKET STREET, 16TH FLOOR
                                                                                                                                          P.O. BOX 1347                                                                  DCULVER@MORRISNICHOLS.COM
COUNSEL TO STEADVIEW CAPITAL MAURITIUS LIMITED                                                   MORRIS, NICHOLS, ARSHT & TUNNELL LLP     WILMINGTON DE 19899-1347                                                       DBUTZ@MORRISNICHOLS.COM           First Class Mail and Email
                                                                                                                                          ATTN: MATTHEW B. HARVEY
                                                                                                                                          1201 NORTH MARKET STREET, 16TH FLOOR
COUNSEL TO THE AD HOC COMMITTEE OF NON US CUSTOMERS OF FTX.COM                                   MORRIS, NICHOLS, ARSHT & TUNNELL LLP     WILMINGTON DE 19801                                                            MHARVEY@MORRISNICHOLS.COM         First Class Mail and Email
                                                                                                                                          ATTN: JOSEPH T. MOLDOVAN, HEATH D. ROSENBLAT; JASON P. GOTTLIEB, MICHAEL MIX   JMOLDOVAN@MORRISONCOHEN.COM
                                                                                                                                          909 THIRD AVENUE                                                               HROSENBLAT@MORRISONCOHEN.COM
                                                                                                                                          27TH FLOOR                                                                     JGOTTLIEB@MORRISONCOHEN.COM
COUNSEL TO LOREM IPSUM UG, PATRICK GRUHN, ROBIN MATZKE, AND BRANDON WILLIAMS                     MORRISON COHEN LLP                       NEW YORK NY 10022                                                              MMIX@MORRISONCOHEN.COM            First Class Mail and Email
                                                                                                                                          ATTN: KAREN CORDRY
                                                                                                 NATIONAL ASSOCIATION OF ATTORNEYS        1850 M ST., NW 12TH FLOOR
NATIONAL ASSOCIATION OF ATTORNEYS GENERAL                                                        GENERAL                                  WASHINGTON DC 20036                                                            KCORDRY@NAAG.ORG                  Email
                                                                                                                                          ATTN: LINFENG DONG, OMC CHAMBERS
                                                                                                                                          WICKHAMS CAY 1
COMMITTEE OF UNSECURED CREDITORS                                                                 OCTOPUS INFORMATION LTD                  ROAD TOWN, TORTOLA BRITISH VIRGIN ISLANDS                                      OCTOPUS_FTX@TEAMB.CN              First Class Mail and Email
                                                                                                                                          ATTN: AMY L. PATTERSON
                                                                                                 OFFICE OF THE ATTORNEY GENERAL OF        40 CAPITOL SQUARE, S.W.
COUNSEL TO THE GEORGIA DEPARTMENT OF BANKING AND FINANCE                                         GEORGIA                                  ATLANTA GA 30334                                                               APATTERSON@LAW.GA.GOV             First Class Mail and Email
                                                                                                 OFFICE OF THE ATTORNEY GENERAL OF        ATTN: ROMA N. DESAI, LAYLA D. MILLIGAN, ABIGAIL R. RYAN                        ROMA.DESAI@OAG.TEXAS.GOV
                                                                                                 TEXAS, BANKRUPTCY & COLLECTIONS          P.O. BOX 12548 MC008                                                           LAYLA.MILLIGAN@OAG.TEXAS.GOV
COUNSEL TO THE TEXAS STATE SECURITIES BOARD AND THE TEXAS DEPARTMENT OF BANKING                  DIVISION                                 AUSTIN TX 78711-2548                                                           ABIGAIL.RYAN@OAG.TEXAS.GOV        First Class Mail and Email
                                                                                                                                          ATTN: STEPHEN MANNING
                                                                                                 OFFICE OF THE ATTORNEY GENERAL OF        P. O. BOX 40100
COUNSEL FOR THE WASHINGTON STATE DEPARTMENT OF FINANCIAL INSTITUTIONS                            WASHINGTON                               OLYMPIA WA 98504-4010                                                          STEPHEN.MANNING@ATG.WA.GOV        First Class Mail and Email
                                                                                                                                          ATTN: JOHN P. REDING
                                                                                                                                          100 W. RANDOLPH ST.
                                                                                                 OFFICE OF THE ILLINOIS ATTORNEY          SUITE 13-225
COUNSEL TO ILLINOIS DEPARTMENT OF FINANCIAL & PROFESSIONAL REGULATION                            GENERAL                                  CHICAGO IL 60601                                                               JOHN.REDING@ILAG.GOV              First Class Mail and Email




            In re: FTX Trading Ltd., et al.
            Case No. 22-11068 (JTD)                                                                                                           Page 6 of 10
                                                                                                                       Case 22-11068-JTD   Doc 10154      Filed 03/22/24   Page 12 of 19




                                                                                                                                                  Exhibit B
                                                                                                                                            Core/2002 Service List
                                                                                                                                           Served as set forth below



                                               DESCRIPTION                                                             NAME                                                           ADDRESS                                                    EMAIL                 METHOD OF SERVICE
                                                                                                                                         ATTN: ROBERT J. ROCK
COUNSEL TO THE NEW YORK STATE                                                                      OFFICE OF THE NEW YORK STATE ATTORNEY THE CAPITOL
DEPARTMENT OF TAXATION AND FINANCE (“NYSTAX”)                                                      GENERAL                               ALBANY NY 12224-0341                                                                 ROBERT.ROCK@AG.NY.GOV                  First Class Mail and Email
                                                                                                                                         ATTN: Laura L. McCloud
                                                                                                   OFFICE OF THE TN ATTORNEY GENERAL,    PO BOX 20207
TN DEPT OF FINANCIAL INSTITUTIONS                                                                  BANKRUPTCY DIVISION                   NASHVILLE TN 37202-0207                                                              AGBANKDELAWARE@AG.TN.GOV               First Class Mail
                                                                                                                                         ATTN: BENJAMIN A. HACKMAN, DAVID GERARDI, JON.LIPSHIE
                                                                                                                                         844 KING STREET, ROOM 2207                                                           BENJAMIN.A.HACKMAN@USDOJ.GOV
                                                                                                                                         LOCKBOX #35                                                                          DAVID.GERARDI@USDOJ.GOV
UNITED STATES TRUSTEE DISTRICT OF DELAWARE                                                         OFFICE OF THE UNITED STATES TRUSTEE   WILMINGTON DE 19899-0035                                                             JON.LIPSHIE@USDOJ.GOV                  Email
                                                                                                                                         ATTN: LINDA RICHENDERFER, ESQ.
                                                                                                                                         J. CALEB BOGGS FEDERAL BUILDING
                                                                                                                                         844 KING STREET, SUITE 2207, LOCKBOX 35
OFFICE OF THE UNITED STATES TRUSTEE                                                                OFFICE OF THE UNITED STATES TRUSTEE   WILMINGTON DE 19801                                                                  LINDA.RICHENDERFER@USDOJ.GOV           Email
                                                                                                                                         ATTN: LAURA DAVIS JONES, PETER J. KEANE
                                                                                                                                         919 N. MARKET STREET, 17TH FLOOR
                                                                                                                                         P.O. BOX 8705                                                                        LJONES@PSZJLAW.COM
COUNSEL TO LOREM IPSUM UG, PATRICK GRUHN, ROBIN MATZKE, AND BRANDON WILLIAMS                       PACHULSKI STANG ZIEHL & JONES LLP     WILMINGTON DE 19899-8705                                                             PKEANE@PSZJLAW.COM                     First Class Mail and Email
                                                                                                                                         ATTN: TEDDY M. KAPUR, JASON H. ROSELL, COLIN R. ROBINSON
                                                                                                                                         919 N. MARKET STREET                                                                 TKAPUR@PSZJLAW.COM
                                                                                                                                         17TH FLOOR                                                                           JROSELL@PSZJLAW.COM
COUNSEL TO D1 VENTURES                                                                             PACHULSKI STANG ZIEHL & JONES LLP     WILMINGTON DE 19801                                                                  CROBINSON@PSZJLAW.COM                  First Class Mail and Email
                                                                                                                                         ATTN: JASON H. ROSELL, MARY F. CALOWAY
                                                                                                                                         ONE SANSOME STREET
                                                                                                                                         SUITE 3430                                                                                JROSELL@PSZJLAW.COM
COUNSEL TO THE MOSKOWITZ LAW FIRM, PLLC AND BOIES SCHILLER FLEXNER LLP ("FTX MDL CO-LEAD COUNSEL") PACHULSKI STANG ZIEHL & JONES LLP     SAN FRANCISCO CA 94104                                                                    MCALOWAY@PSZJLAW.COM              First Class Mail and Email
                                                                                                                                                                                                                                   GABESASSON@PAULHASTINGS.COM
                                                                                                                                                                                                                                   KRISHANSEN@PAULHASTINGS.COM
                                                                                                                                             ATTN: GABE E. SASSON, KRISTOPHER M. HANSEN, KENNETH PASQUALE, LUC A. DESPINS, EREZ E. KENPASQUALE@PAULHASTINGS.COM
                                                                                                                                             GILAD AND SAMANTHA MARTIN                                                             EREZGILAD@PAULHASTINGS.COM
                                                                                                                                             200 PARK AVENUE                                                                       LUCDESPINS@PAULHASTINGS.COM
COUNSEL TO OFFICIAL COMMITTEE OF UNSECURED CREDITORS                                                    PAUL HASTINGS                        NEW YORK NY 10166                                                                     SAMANTHAMARTIN@PAULHASTINGS.COM   First Class Mail and Email
COUNSEL TO EMBED SHAREHOLDER DEFENDANTS THE 2016 KARKAL FAMILY TRUST; ACREW CAPITAL FUND (A),
L.P.; ACREW CAPITAL FUND, L.P.; ACREW CAPITAL MGP, LLC; BAIN CAPITAL VENTURE FUND 2019 LP; BCIP
VENTURE ASSOCIATES II, L.P.; BCIP VENTURE ASSOCIATES II-B, L.P.; BCV 2019-MD PRIMARY, L.P.; BUCKLEY
VENTURES GP, LLC; BUCKLEY VENTURES, LP; CORRELATION VENTURES II, LP; FIN VC REGATTA I, LP; HOMEBREW
VENTURES III, LP; JONATHAN CHRISTODORO; KAMRAN ANSARI; LAUNCHPAD CAPITAL FUND I LP; LGF II, L.P.;
LIQUID 2 VENTURES FUND II, L.P.; PROPEL VENTURE PARTNERS, LLC; PROPEL VENTURE PARTNERS US FUND I LP;
PUTNAM (WARREN LOWELL PUTNAM & BRYNN JINNETT PUTNAM, TENANTS IN COMMON); SAMUEL JONES;                                                       ATTN: ELIZABETH WANG, DANIEL A. MASON
TORCH CAPITAL II, LP; TRANSPOSE PLATFORM O/B/O TI PLATFORM FUND II; TI PLATFORM NLI VENTURE LIMITED II;                                      1313 NORTH MARKET STREET, SUITE 806
TRANSPOSE PLATFORM FINTECH FUND II, L.P.; TI PLATFORM FUND II, LP; TREASURY FUND I, LP; Y COMBINATOR; Y PAUL, WEISS, RIFKIND, WHARTON &      POST OFFICE BOX 32                                                               DMASON@PAULWEISS.COM
COMBINATOR ES20, LLC; AND YCC20, L.P.                                                                   GARRISON LLP                         WILMINGTON DE 19899-0032                                                         EWANG@PAULWEISS.COM                    First Class Mail and Email
COUNSEL TO EMBED SHAREHOLDER DEFENDANTS THE 2016 KARKAL FAMILY TRUST; ACREW CAPITAL FUND (A),
L.P.; ACREW CAPITAL FUND, L.P.; ACREW CAPITAL MGP, LLC; BAIN CAPITAL VENTURE FUND 2019 LP; BCIP
VENTURE ASSOCIATES II, L.P.; BCIP VENTURE ASSOCIATES II-B, L.P.; BCV 2019-MD PRIMARY, L.P.; BUCKLEY
VENTURES GP, LLC; BUCKLEY VENTURES, LP; CORRELATION VENTURES II, LP; FIN VC REGATTA I, LP; HOMEBREW
VENTURES III, LP; JONATHAN CHRISTODORO; KAMRAN ANSARI; LAUNCHPAD CAPITAL FUND I LP; LGF II, L.P.;
LIQUID 2 VENTURES FUND II, L.P.; PROPEL VENTURE PARTNERS, LLC; PROPEL VENTURE PARTNERS US FUND I LP;
PUTNAM (WARREN LOWELL PUTNAM & BRYNN JINNETT PUTNAM, TENANTS IN COMMON); SAMUEL JONES;
TORCH CAPITAL II, LP; TRANSPOSE PLATFORM O/B/O TI PLATFORM FUND II; TI PLATFORM NLI VENTURE LIMITED II;                                      ATTN: WILLIAM A. CLAREMAN, GREGORY F. LAUFER, KENNETH S. ZIMAN                   WCLAREMAN@PAULWEISS.COM
TRANSPOSE PLATFORM FINTECH FUND II, L.P.; TI PLATFORM FUND II, LP; TREASURY FUND I, LP; Y COMBINATOR; Y PAUL, WEISS, RIFKIND, WHARTON &      1285 AVENUE OF THE AMERICAS                                                      GLAUFER@PAULWEISS.COM
COMBINATOR ES20, LLC; AND YCC20, L.P.                                                                   GARRISON LLP                         NEW YORK NY 10019-6064                                                           KZIMAN@PAULWEISS.COM                   First Class Mail and Email
COUNSEL TO EMBED SHAREHOLDER DEFENDANTS THE 2016 KARKAL FAMILY TRUST; ACREW CAPITAL FUND (A),
L.P.; ACREW CAPITAL FUND, L.P.; ACREW CAPITAL MGP, LLC; BAIN CAPITAL VENTURE FUND 2019 LP; BCIP
VENTURE ASSOCIATES II, L.P.; BCIP VENTURE ASSOCIATES II-B, L.P.; BCV 2019-MD PRIMARY, L.P.; BUCKLEY
VENTURES GP, LLC; BUCKLEY VENTURES, LP; CORRELATION VENTURES II, LP; FIN VC REGATTA I, LP; HOMEBREW
VENTURES III, LP; JONATHAN CHRISTODORO; KAMRAN ANSARI; LAUNCHPAD CAPITAL FUND I LP; LGF II, L.P.;
LIQUID 2 VENTURES FUND II, L.P.; PROPEL VENTURE PARTNERS, LLC; PROPEL VENTURE PARTNERS US FUND I LP;
PUTNAM (WARREN LOWELL PUTNAM & BRYNN JINNETT PUTNAM, TENANTS IN COMMON); SAMUEL JONES;                                                       ATTN:RANDALL S. LUSKEY
TORCH CAPITAL II, LP; TRANSPOSE PLATFORM O/B/O TI PLATFORM FUND II; TI PLATFORM NLI VENTURE LIMITED II;                                      535 MISSION STREET
TRANSPOSE PLATFORM FINTECH FUND II, L.P.; TI PLATFORM FUND II, LP; TREASURY FUND I, LP; Y COMBINATOR; Y PAUL, WEISS, RIFKIND, WHARTON &      24TH FLOOR
COMBINATOR ES20, LLC; AND YCC20, L.P.                                                                   GARRISON LLP                         SAN FRANCISCO CA 94105                                                           RLUSKEY@PAULWEISS.COM                  First Class Mail and Email
                                                                                                                                             ATTTN: M. BLAKE CLEARY, R. STEPHEN MCNEILL, SAMEEN RIZVI, ESQ.                   BCLEARY@POTTERANDERSON.COM
                                                                                                                                             1313 N. MARKET STREET, 6TH FLOOR                                                 RMCNEILL@POTTERANDERSON.COM
COUNSEL TO LAYERZERO LABS LTD., ARI LITAN AND SKIP & GOOSE, LLC                                       POTTER ANDERSON & CORROON LLP          WILMINGTON DE 19801                                                              SRIZVI@POTTERANDERSON.COM              First Class Mail and Email




             In re: FTX Trading Ltd., et al.
             Case No. 22-11068 (JTD)                                                                                                             Page 7 of 10
                                                                                                                Case 22-11068-JTD     Doc 10154      Filed 03/22/24   Page 13 of 19




                                                                                                                                             Exhibit B
                                                                                                                                       Core/2002 Service List
                                                                                                                                      Served as set forth below



                                               DESCRIPTION                                                       NAME                                                            ADDRESS                                            EMAIL         METHOD OF SERVICE
                                                                                                                                       ATTN: BRIAN S. ROSEN, DYLAN J. MARKER
                                                                                                                                       ELEVEN TIMES SQUARE                                                       BROSEN@PROSKAUER.COM
COUNSEL TO LAYERZERO LABS LTD., ARI LITAN AND SKIP & GOOSE, LLC                                  PROSKAUER ROSE LLP                    NEW YORK NY 10036-8299                                                    DMARKER@PROSKAUER.COM          First Class Mail and Email
                                                                                                                                       ATTN: JORDAN E. SAZANT
                                                                                                                                       70 WEST MADISON STREET
                                                                                                                                       SUITE 3800
COUNSEL TO LAYERZERO LABS LTD., ARI LITAN AND SKIP & GOOSE, LLC                                  PROSKAUER ROSE LLP                    CHICAGO IL 60602-4342                                                     JSAZANT@PROSKAUER.COM          First Class Mail and Email
                                                                                                                                       ATTN: BRIAN SIMMS, K.C., KEVIN CAMBRIDGE, PETER GREAVES
                                                                                                                                       3 BAYSIDE EXECUTIVE PARK, WEST BAY STREET & BLAKE ROAD                    BSIMMS@LENNOXPATON.COM
                                                                                                 PROVISIONAL LIQUIDATOR OF FTX DIGITAL PO BOX N-4875                                                             KEVIN.CAMBRIDGE@PWC.COM
PROVISIONAL LIQUIDATOR OF FTX DIGITAL MARKETS LTD.                                               MARKETS LTD.                          NASSAU THE BAHAMAS                                                        PETER.GREAVES@HK.PWC.COM       First Class Mail and Email
                                                                                                                                       ATTN: MICHELE WAN AND JACKY YIP
                                                                                                                                       UNIT 903-905, K11 ATELIER VICTORIA DOCKSIDE
                                                                                                                                       18 SALISBURY ROAD                                                         MICHELE.WAN@PULSAR.COM
COMMITTEE OF UNSECURED CREDITORS                                                                 PULSAR GLOBAL LTD                     KOWLOON HONG KONG                                                         JACKY.YIP@PULSAR.COM           First Class Mail and Email
                                                                                                                                       ATTN: AARON JAVIAN
COUNSEL TO FOUNDATION SERENDIPITY, FOUNDATION ELEMENTS, SERENDIPITY NETWORK LTD, AND LIQUDITY                                          599 LEXINGTON AVENUE
NETWORK LTD                                                                                      REED SMITH LLP                        NEW YORK NY 10022                                                         AJAVIAN@REEDSMITH.COM          First Class Mail and Email
                                                                                                                                       ATTN: KURT F. GWYNNE
                                                                                                                                       1201 N. MARKET STREET
COUNSEL TO FOUNDATION SERENDIPITY, FOUNDATION ELEMENTS, SERENDIPITY NETWORK LTD, AND LIQUDITY                                          SUITE 1500
NETWORK LTD                                                                                      REED SMITH LLP                        WILMINGTON DE 19801                                                       KGWYNNE@REEDSMITH.COM          First Class Mail and Email
                                                                                                                                       ATTN: NICHOLAS A. PASALIDES, ESQ.
                                                                                                                                       235 MAIN STREET, SUITE 450
COUNSEL TO CHAINALYSIS INC.                                                                      REICH REICH & REICH, P.C.             WHITE PLAINS NY 10601                                                     NPASALIDES@REICHPC.COM         First Class Mail and Email
                                                                                                                                       ATTN: KEVIN GROSS, PAUL N. HEATH, DAVID T. QUEROLI, BRENDAN J. SCHLAUCH   GROSS@RLF.COM
                                                                                                                                       ONE RODNEY SQUARE                                                         HEATH@RLF.COM
COUNSEL TO THE JOINT PROVISIONAL LIQUIDATORS OF FTX DIGITAL MARKETS LTD. (IN PROVISIONAL                                               920 NORTH KING STREET                                                     QUEROLI@RLF.COM
LIQUIDATION), JOINT OFFICIAL LIQUIDATORS OF FTX DIGITAL MARKETS LTD. (IN OFFICIAL LIQUIDATION)   RICHARDS, LAYTON & FINGER, P.A.       WILMINGTON DE 19801                                                       SCHLAUCH@RLF.COM               First Class Mail and Email
                                                                                                                                       ATTN: FREDERICK CHANG
                                                                                                                                       506 2ND AVE., SUITE 1400
COUNSEL TO BASTION WORLDWIDE LIMITED                                                             RIMON, P.C.                           SEATTLE WA 98104                                                          FREDERICK.CHANG@RIMONLAW.COM   First Class Mail and Email
                                                                                                                                       ATTN: JACQUELYN H. CHOI
                                                                                                                                       2029 CENTURY PARK EAST, SUITE 400N
COUNSEL TO BASTION WORLDWIDE LIMITED                                                             RIMON, P.C.                           LOS ANGELES CA 90067                                                      JACQUELYN.CHOI@RIMONLAW.COM    First Class Mail and Email
                                                                                                                                       ATTN: JAMIE L. EDMONSON
                                                                                                                                       1201 N. MARKET STREET
                                                                                                                                       SUITE 1406
COUNSEL FOR NORTH AMERICAN LEAGUE OF LEGENDS CHAMPIONSHIP SERIES, LLC                            ROBINSON & COLE LLP                   WILMINGTON DE 19801                                                       JEDMONSON@RC.COM               First Class Mail and Email
                                                                                                                                       ATTN: LUCIAN B. MURLEY
                                                                                                                                       1201 NORTH MARKET STREET, SUITE 2300
                                                                                                                                       P.O. BOX 1266
COUNSEL TO THE DEFENDANT WILLIAM HOCKEY LIVING TRUST & DEFENDANTS LISTED ON EXHIBIT A            SAUL EWING LLP                        WILMINGTON DE 19899                                                       LUKE.MURLEY@SAUL.COM           First Class Mail and Email
                                                                                                                                       ATTN: DOUGLAS S. MINTZ
                                                                                                                                       555 13TH STREET, NW, SUITE 6W
COUNSEL TO STEADVIEW CAPITAL MAURITIUS LIMITED                                                   SCHULTE ROTH & ZABEL LLP              WASHINGTON DC 20004                                                       DOUGLAS.MINTZ@SRZ.COM          First Class Mail and Email
                                                                                                                                       ATTN: REUBEN E. DIZENGOFF
                                                                                                                                       919 THIRD AVENUE
COUNSEL TO STEADVIEW CAPITAL MAURITIUS LIMITED                                                   SCHULTE ROTH & ZABEL LLP              NEW YORK NY 10022                                                         REUBEN.DIZENGOFF@SRZ.COM       First Class Mail and Email
                                                                                                                                       SECRETARY OF THE TREASURY
                                                                                                                                       100 F. STREET NE
SECURITIES AND EXCHANGE COMMISSION - HEADQUARTERS                                                SECURITIES & EXCHANGE COMMISSION      WASHINGTON DC 20549                                                       SECBANKRUPTCY@SEC.GOV          First Class Mail and Email
                                                                                                                                       ATTN: BANKRUPTCY DEPT
                                                                                                                                       BROOKFIELD PLACE
                                                                                                 SECURITIES & EXCHANGE COMMISSION - NY 200 VESEY STREET, STE 400                                                 BANKRUPTCYNOTICESCHR@SEC.GOV
SECURITIES AND EXCHANGE COMMISSION - REGIONAL OFFICE                                             OFFICE                                NEW YORK NY 10281-1022                                                    NYROBANKRUPTCY@SEC.GOV         First Class Mail and Email
                                                                                                                                       ATTN: BANKRUPTCY DEPT
                                                                                                                                       ONE PENN CENTER
                                                                                                 SECURITIES & EXCHANGE COMMISSION -    1617 JFK BLVD, STE 520
SECURITIES AND EXCHANGE COMMISSION - REGIONAL OFFICE                                             PHILADELPHIA OFFICE                   PHILADELPHIA PA 19103                                                     SECBANKRUPTCY@SEC.GOV          First Class Mail and Email
                                                                                                                                       ATTN: BANKRUPTCY DEPT
                                                                                                                                       CARVEL STATE OFFICE BLDG.
                                                                                                                                       820 N. FRENCH ST.
STATE ATTORNEY GENERAL                                                                           STATE OF DELAWARE ATTORNEY GENERAL WILMINGTON DE 19801                                                          ATTORNEY.GENERAL@STATE.DE.US   First Class Mail and Email




             In re: FTX Trading Ltd., et al.
             Case No. 22-11068 (JTD)                                                                                                        Page 8 of 10
                                                                                                                  Case 22-11068-JTD     Doc 10154      Filed 03/22/24   Page 14 of 19




                                                                                                                                               Exhibit B
                                                                                                                                         Core/2002 Service List
                                                                                                                                        Served as set forth below



                                              DESCRIPTION                                                          NAME                                                            ADDRESS                                                       EMAIL             METHOD OF SERVICE
                                                                                                                                          ATTN: DANIEL M. PEREIRA
                                                                                                                                          1000 N. WEST STREET
                                                                                                                                          SUITE 1200
COUNSEL TO NATHANIEL PARKE                                                                        STRADLEY RONON STEVENS & YOUNG, LLP     WILMINGTON DE 19801                                                                DPEREIRA@STRADLEY.COM               First Class Mail and Email
                                                                                                                                          ATTN: DEBORAH A. REPEROWITZ
                                                                                                                                          100 PARK AVENUE
                                                                                                                                          SUITE 2000
COUNSEL TO NATHANIEL PARKE                                                                        STRADLEY RONON STEVENS & YOUNG, LLP     NEW YORK NY 10017                                                                  DREPEROWITZ@STRADLEY.COM            First Class Mail and Email
                                                                                                                                          ATTN: SABRINA L. STREUSAND, ANH NGUYEN
                                                                                                                                          1801 S. MOPAC EXPRESSWAY
                                                                                                  STREUSAND, LANDON, OZBURN &             SUITE 320                                                                              STREUSAND@SLOLLP.COM
COUNSEL TO CLOUDFLARE, INC.                                                                       LEMMON, LLP                             AUSTIN TX 78746                                                                        NGUYEN@SLOLLP.COM               First Class Mail and Email
                                                                                                                                                                                                                                 DIETDERICHA@SULLCROM.COM
                                                                                                                                                                                                                                 BROMLEYJ@SULLCROM.COM
                                                                                                                                                                                                                                 GLUECKSTEINB@SULLCROM.COM
                                                                                                                                                                                                                                 KRANZLEYA@SULLCROM.COM
                                                                                                                                          ATTN: ANDREW G. DIETDERICH, JAMES L. BROMLEY, BRIAN D. GLUECKSTEIN, ALEXA J. KRANZLEY, PETIFORDJ@SULLCROM.COM
                                                                                                                                          STEVEN L. HOLLEY, STEPHEN EHRENBERG, CHRISTOPHER J. DUNNE                              HOLLEYS@SULLCROM.COM
                                                                                                                                          125 BROAD STREET                                                                       EHRENBERGS@SULLCROM.COM
COUNSEL TO DEBTORS AND DEBTORS IN POSSESSION AND MACLAURIN INVESTMENTS LTD.                       SULLIVAN & CROMWELL LLP                 NEW YORK NY 10004                                                                      DUNNEC@SULLCROM.COM             Email
                                                                                                                                          ATTN: WILLIAM D. SULLIVAN
                                                                                                                                          919 NORTH MARKET STREET, SUITE 420
COUNSEL FOR WORD OF GOD FELLOWSHIP, INC.                                                          SULLIVAN HAZELTINE ALLINSON LLC         WILMINGTON DE 19801                                                                    BSULLIVAN@SHA-LLC.COM           First Class Mail and Email
                                                                                                                                          ATTN: DARRELL DALEY, SAMANTHA NEAL
                                                                                                                                          4845 PEARL EAST CIRCLE
                                                                                                                                          SUITE 101                                                                              DARRELL@DALEYLAWYERS.COM
COUNSEL TO LOREM IPSUM UG, PATRICK GRUHN, ROBIN MATZKE, AND BRANDON WILLIAMS                      THE DALEY LAW FIRM                      BOULDER CO 80301                                                                       SAMANTHA@DALEYLAWYERS.COM       First Class Mail and Email
                                                                                                                                          ATTN: PRESIDENT OR GENERAL COUNSEL
                                                                                                                                          POINCIANA HOUSE, NORTH BUILDING, 2ND FLOOR 31A
                                                                                                  THE SECURITIES COMMISSION OF THE        EAST BAY STREET, P.O. BOX N-8347
THE SECURITIES COMMISSION OF THE BAHAMAS                                                          BAHAMAS                                 NASSAU THE BAHAMAS                                                                     INFO@SCB.GOV.BS                 First Class Mail and Email
                                                                                                                                          ATTN: EVELYN J. MELTZER
                                                                                                                                          HERCULES PLAZA, SUITE 5100
                                                                                                  TROUTMAN PEPPER HAMILTON SANDERS        1313 N. MARKET STREET
COUNSEL FOR PARADIGM OPERATIONS LP                                                                LLP                                     WILMINGTON DE 19899-1709                                                               EVELYN.MELTZER@TROUTMAN.COM     First Class Mail and Email
                                                                                                                                          ATTN: STANTON C. MCMANUS, SETH B. SHARPIRO
                                                                                                                                          CIVIL DIVISION
                                                                                                                                          1100 L STREET, NW, ROOM 7208                                                           STANTON.C.MCMANUS@USDOJ.GOV
U.S. DEPARTMENT OF JUSTICE                                                                        U.S. DEPARTMENT OF JUSTICE              WASHINGTON DC 20005                                                                    SETH.SHAPIRO@USDOJ.GOV          First Class Mail and Email
                                                                                                                                          ATTN: WARD W. BENSON
                                                                                                                                          P.O. BOX 227, BEN FRANKLIN STATION
COUNSEL TO THE UNITED STATES OF AMERICA                                                           U.S. DEPARTMENT OF JUSTICE              WASHINGTON DC 20044                                                                    WARD.W.BENSON@USDOJ.GOV         First Class Mail and Email
                                                                                                                                          ATTN: RUTH A. HARVEY, MARGARET M. NEWELL, SETH B. SHAPIRO, STANTON C. MCMANUS
                                                                                                                                          COMMERCIAL LITIGATION BRANCH
                                                                                                  U.S. DEPARTMENT OF JUSTICE – CIVIL      P.O. BOX 875, BEN FRANKLIN STATION                                                     STANTON.C.MCMANUS@USDOJ.GOV
COUNSEL TO THE UNITED STATES OF AMERICA                                                           DIVISION                                WASHINGTON DC 20044-0875                                                               SETH.SHAPIRO@USDOJ.GOV          First Class Mail and Email
                                                                                                                                          ATTN: ARI D. KUNOFSKY
                                                                                                  U.S. DEPARTMENT OF JUSTICE, TAX         P.O. BOX 227
COUNSEL TO THE UNITED STATES OF AMERICA                                                           DIVISION                                WASHINGTON DC 20044                                                                    ARI.D.KUNOFSKY@USDOJ.GOV        First Class Mail and Email
                                                                                                                                          ATTN: ELISABETH M. BRUCE, STEPHANIE A. SASARAK
                                                                                                  U.S. DEPARTMENT OF JUSTICE, THE         P.O. BOX 227                                                                           ELISABETH.M.BRUCE@USDOJ.GOV
COUNSEL FOR THE UNITED STATES OF AMERICA                                                          INTERNAL REVENUE SERVICE                WASHINGTON DC 20044                                                                    STEPHANIE.A.SASARAK@USDOJ.GOV   First Class Mail and Email
                                                                                                                                          ATTN: BANKRUPTCY DEPT
                                                                                                                                          US DEPT OF JUSTICE
                                                                                                  UNITED STATES OF AMERICA ATTORNEY       950 PENNSYLVANIA AVE NW
UNITED STATES OF AMERICA                                                                          GENERAL                                 WASHINGTON DC 20530-0001                                                                                               First Class Mail
                                                                                                                                          ATTN: DAVID C. WEISS C/O ELLEN SLIGHTS
                                                                                                                                          1007 ORANGE ST STE 700
                                                                                                                                          P.O. BOX 2046
US ATTORNEY FOR THE DISTRICT OF DELAWARE                                                          US ATTORNEY FOR DELAWARE                WILMINGTON DE 19899-2046                                                               USADE.ECFBANKRUPTCY@USDOJ.GOV   First Class Mail and Email
                                                                                                                                          ATTN: ANDREW J. CURRIE
COUNSEL TO DIGITAL AUGEAN, LLC, AD HOC COMMITTEE OF CUSTOMERS AND CREDITORS OF FTX TRADING LTD.                                           600 MASSACHUSETTS AVENUE, NW
AND OKC ENTITIES                                                                                  VENABLE LLP                             WASHINGTON DC 20001                                                                    AJCURRIE@VENABLE.COM            First Class Mail and Email
                                                                                                                                          ATTN: DANIEL A. O’BRIEN
                                                                                                                                          1201 N. MARKET ST.
COUNSEL TO DIGITAL AUGEAN, LLC, AD HOC COMMITTEE OF CUSTOMERS AND CREDITORS OF FTX TRADING LTD.                                           SUITE 1400
AND OKC ENTITIES                                                                                  VENABLE LLP                             WILMINGTON DE 19801                                                                    DAOBRIEN@VENABLE.COM            First Class Mail and Email




            In re: FTX Trading Ltd., et al.
            Case No. 22-11068 (JTD)                                                                                                           Page 9 of 10
                                                                                                                     Case 22-11068-JTD     Doc 10154      Filed 03/22/24   Page 15 of 19




                                                                                                                                                  Exhibit B
                                                                                                                                            Core/2002 Service List
                                                                                                                                           Served as set forth below



                                               DESCRIPTION                                                              NAME                                                          ADDRESS                                                         EMAIL           METHOD OF SERVICE
                                                                                                                                             ATTN: JEFFREY S. SABIN, XOCHITL S. STROHBEHN, CAROL A. WEINER, ARIE A. PELED           JSSABIN@VENABLE.COM
                                                                                                                                             1270 AVENUE OF THE AMERICAS                                                            XSSTROHBEHN@VENABLE.COM
COUNSEL TO DIGITAL AUGEAN, LLC, AD HOC COMMITTEE OF CUSTOMERS AND CREDITORS OF FTX TRADING LTD.                                              24TH FLOOR                                                                             CWEINERLEVY@VENABLE.COM
AND OKC ENTITIES                                                                                     VENABLE LLP                             NEW YORK NY 10020                                                                      AAPELED@VENABLE.COM             First Class Mail and Email
                                                                                                                                                                                                                                    JSSABIN@VENABLE.COM
                                                                                                                                             ATTN: JEFFREY S. SABIN, XOCHITL S. STROHBEHN, CAROL A. WEINER, ARIE A. PELED           XSSTROHBEHN@VENABLE.COM
                                                                                                                                             151 WEST 42ND ST., 48TH FLOOR                                                          CWEINERLEVY@VENABLE.COM
COUNSEL TO OKC ENTITIES                                                                              VENABLE LLP                             NEW YORK NY 10036                                                                      AAPELED@VENABLE.COM             First Class Mail and Email
                                                                                                                                             ATTN: JENNIFER ROOD
                                                                                                     VERMONT DEPARTMENT OF FINANCIAL         89 MAIN STREET, THIRD FLOOR
COUNSEL FOR THE STATE OF VERMONT                                                                     REGULATION                              MONTPELIER VT 05620                                                                    JENNIFER.ROOD@VERMONT.GOV       First Class Mail and Email
                                                                                                                                             ATTN: TIFFANY STRELOW COBB, ESQ.
                                                                                                                                             52 EAST GAY STREET
                                                                                                                                             P.O. BOX 1008
COUNSEL TO RIBOSCIENCE LLC AND 4J THERAPEUTICS INC.                                                  VORYS, SATER, SEYMOUR AND PEASE LLP     COLUMBUS OH 43216-1008                                                                 TSCOBB@VORYS.COM                First Class Mail and Email
                                                                                                                                                                                                                                    JESSICA.LAURIA@WHITECASE.COM
                                                                                                                                             ATTN: JESSICA C. LAURIA, J. CHRISTOPHER SHORE, BRIAN D. PFEIFFER, MARK FRANKE, BRETT   CSHORE@WHITECASE.COM
                                                                                                                                             BAKEMEYER                                                                              BRIAN.PFEIFFER@WHITECASE.COM
COUNSEL TO THE JOINT PROVISIONAL LIQUIDATORS OF FTX DIGITAL MARKETS LTD. (IN PROVISIONAL                                                     1221 AVENUE OF THE AMERICAS                                                            MARK.FRANKE@WHITECASE.COM
LIQUIDATION), THE JOINT OFFICIAL LIQUIDATORS OF FTX DIGITAL MARKETS LTD. (IN OFFICIAL LIQUIDATION)   WHITE & CASE LLP                        NEW YORK NY 10020-1095                                                                 BRETT.BAKEMEYER@WHITECASE.COM   First Class Mail and Email
                                                                                                                                             ATTN: THOMAS E LAURIA, RICHARD S. KEBRDLE
                                                                                                                                             200 SOUTH BISCAYNE BLVD., SUITE 4900
COUNSEL TO THE JOINT PROVISIONAL LIQUIDATORS OF FTX DIGITAL MARKETS LTD. (IN PROVISIONAL                                                     SOUTHEAST FINANCIAL CENTER                                                             TLAURIA@WHITECASE.COM
LIQUIDATION), THE JOINT OFFICIAL LIQUIDATORS OF FTX DIGITAL MARKETS LTD. (IN OFFICIAL LIQUIDATION)   WHITE & CASE LLP                        MIAMI FL 33131                                                                         RKEBRDLE@WHITECASE.COM          First Class Mail and Email
                                                                                                                                             ATTN: PETER G. NEIMAN, NICHOLAS WERLE
                                                                                                                                             7 WORLD TRADE CENTER
                                                                                                     WILMER CUTLER PICKERING HALE AND        150 GREENWICH STREET                                                                   PETER.NEIMAN@WILMERHALE.COM
COUNSEL TO DEFENDANT CAROLINE ELLISON                                                                DORR LLP                                NEW YORK NY 10007                                                                      NICK.WERLE@WILMERHALE.COM       First Class Mail and Email
                                                                                                                                             ATTN: CHARLES MELVIN, C/O WINCENT CAPITAL MANAGEMENT
                                                                                                                                             OLD POLICE STATION
                                                                                                                                             120B
COMMITTEE OF UNSECURED CREDITORS                                                                     WINCENT INVESTMENT FUND PCC LTD         IRISH TOWN GX11 1AA GIBRALTAR                                                          LEGAL@WINCENT.CO                First Class Mail and Email
                                                                                                                                             ATTN: LEGAL DEPARTMENT
                                                                                                                                             24 EAN KIAM PLACE
COMMITTEE OF UNSECURED CREDITORS                                                                     WINTERMUTE ASIA PTE. LTD                429115 SINGAPORE                                                                       LEGAL@WINTERMUTE.COM            First Class Mail and Email
                                                                                                                                             ATTN: MATTHEW B. LUNN, ROBERT F. POPPITI, JR.
                                                                                                     YOUNG CONAWAY STARGATT & TAYLOR,        1000 NORTH KING STREET                                                                 MLUNN@YCST.COM
COUNSEL TO OFFICIAL COMMITTEE OF UNSECURED CREDITORS                                                 LLP                                     WILMINGTON DE 19801                                                                    RPOPPITI@YCST.COM               First Class Mail and Email
                                                                                                                                             ATTN: PETER S. PARTEE, SR
                                                                                                                                             HUNTON ANDREWS KURTH LLP
                                                                                                                                             200 PARK AVE
COMMITTEE OF UNSECURED CREDITORS                                                                     ZACHARY BRUCH                           NEW YORK NY 10166                                                                      PPARTEE@HUNTONAK.COM            First Class Mail and Email




             In re: FTX Trading Ltd., et al.
             Case No. 22-11068 (JTD)                                                                                                             Page 10 of 10
Case 22-11068-JTD   Doc 10154   Filed 03/22/24   Page 16 of 19




                        Exhibit C
                                     Case 22-11068-JTD       Doc 10154       Filed 03/22/24      Page 17 of 19

                                                                    Exhibit C
                                                     Ordinary Course Professional Service List
                                                            Served via first class mail
       KRAID           Name                               Address                  City           Postal Code Country


       KRAID-0003 Lenz & Staehelin                        Brandschenkestrasse 24   Zurich         CH-8027    Switzerland




       KRAID-0002 Schurti Partners Attorneys at Law Ltd   Zollstrasse 2            Vaduz       9490          Principality of Liechtenstein
       KRAID-0001 Walkers                                 190 Elgin Avenue         George Town KY1-9001      Grand Cayman




In re: FTX Trading Ltd., et al.
Case No. 22-11068 (JTD)                                             Page 1 of 1
Case 22-11068-JTD   Doc 10154   Filed 03/22/24   Page 18 of 19




                        Exhibit D
                                                                                        Case 22-11068-JTD          Doc 10154       Filed 03/22/24     Page 19 of 19



                                                                                                                          Exhibit D
                                                                                                                  Notice Parties Service List
                                                                                                                  Served as set forth below
  KRAID                            NAME                               ADDRESS1                     ADDRESS2                       ADDRESS3           ADDRESS4       CITY    STATE      ZIP                     EMAIL                METHOD OF SERVICE
           Fondation Serendipity, Fondation Elements,                                                                      1201 North Market
KRAID-0007 Serendipity Network Ltd and Liquidity Network Ltd.   Reed Smith LLP          Attn: Kurt F. Gwynne, Esq.         Street, Suite 1500                    Wilmington DE      19801-1163                                      First Class Mail
           Fondation Serendipity, Fondation Elements,                                                                                                                                            kgwynne@reedsmith.com;             First Class Mail and
KRAID-0008 Serendipity Network Ltd and Liquidity Network Ltd.   Reed Smith LLP          Attn: Aaron Javian, Esq            599 Lexington Avenue                  New York   NY      10022        ajavian@reedsmith.com              Email
                                                                                                                                                                                                 tkeller@kbkllp.com;
                                                                                                                                                                                                 tshafroth@kbkllp.com
KRAID-0010 KELLER BENVENUTTI KIM LLP                                                                                                                                                                                                Email
KRAID-0001 Lavanda Sands, L.L.C.                                Bielli & Klauder, LLC   Attn: David M. Klauder, Esq        1204 N. King Street                   Wilmington DE      19801                                           First Class Mail
                                                                                                                                                                                                 dklauder@bk-legal.com;             First Class Mail and
KRAID-0002 Lavanda Sands, L.L.C.                                Crowell & Moring LLP Attn: Frederick Hyman, Esq            590 Madison Ave                       New York   NY      10022        fhyman@crowell.com                 Email
                                                                                                                                                                                                 aaron.applebaum@us.dlapiper.com;
                                                                                                                           1201 N. Market Street,                                                dennis.odonnell@us.dlapiper.com;   First Class Mail and
KRAID-0003 Maps Vault Ltd                                       DL Piper LLP            Attn: Aaron S. Applebaum, Esq.     Suite 2100                            Wilmington DE      19801        jeffrey.torosian@dlapiper.com      Email
                                                                                                                           1251 Avenue of the
KRAID-0004 Maps Vault Ltd                                       DLA Piper LLP           Attn: Dennis C. O’Donnell, Esq.    Americas                              New York   NY      10020                                           First Class Mail
                                                                                                                           444 W. Lake Street,
KRAID-0005 Maps Vault Ltd                                       DLA Piper LLP           Attn: Jeffrey Torosian, Esq        Suite 900                             Chicago    IL      60606                                           First Class Mail
KRAID-0011 PASHMAN STEIN WALDER HAYDEN, P.C.                                                                                                                                                     jweiss@pashmanstein.com            Email
                                                                Katten Muchin           Attn: Peter A. Siddiqui, Esq,
KRAID-0006 TMSI SEZC Ltd                                        Roseman LLP             Ethan D. Trotz, Esq                525 W. Monroe Street                  Chicago    IL      60661                                           First Class Mail
                                                                                                                                                                                                 mark.minuti@saul.com;
                                                                                        Attn: Mark Minuti, Esq, Monique                                                                          monique.disabatino@saul.com;
                                                                                        B. DiSabatino, Esq, Peter A.       1.1201 N. Market                                                      peter.siddiqui@katten.com;         First Class Mail and
KRAID-0009 TMSI SEZC Ltd                                        Saul Ewing LLP          Siddiqui, Esq; Ethan D. Trotz, Esq Street, Suite 2300       P.O. Box 1266 Wilmington DE     09899        ethan.trotz@katten.com             Email




          In re: FTX Trading Ltd., et al.
          Case No. 22-11068 (JTD)                                                                                         Page 1 of 1
